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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

RICHARD LOPEZ and GLORIA LOPEZ,                    )
On Behalf of Themselves and All Others             )
Similarly Situated,                                )
                                                   )
       Plaintiffs,                                 )
                                                   )
V.                                                 )     CIVIL ACTION NO. SA-19-CA-0380-FB
                                                   )
PROGRESSIVE COUNTY MUTUAL                          )
INSURANCE COMPANY, and                             )
APRIL HAGER,                                       )
                                                   )
       Defendants.                                 )

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

       Before the Court are the Report and Recommendation of United States Magistrate Judge (docket

no. 37) concerning plaintiffs’ motion to remand (docket no. 18), plaintiffs’ written objections (docket

no. 48) thereto, and defendants’ responses (docket nos. 52 & 53) to plaintiffs’ objections.

       Where no party has objected to a Magistrate Judge's Report and Recommendation, the Court

need not conduct a de novo review of the Report and Recommendation. See 28 U.S.C. § 636(b)(1) ("A

judge of the court shall make a de novo determination of those portions of the report or specified

proposed findings and recommendations to which objection is made."). In such cases, the Court need

only review the Report and Recommendation and determine whether it is clearly erroneous or contrary

to law. United States v. Wilson, 864 F.2d 1219, 1221 (5th Cir.), cert. denied, 492 U.S. 918 (1989).

       On the other hand, any Report and Recommendation to which objection is made requires de

novo review by the Court. Such a review means that the Court will examine the entire record, and will

make an independent assessment of the law. The Court need not, however, conduct a de novo review
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when the objections are frivolous, conclusive, or general in nature. Battle v. United States Parole

Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).

       The Court has thoroughly analyzed the parties’ submissions in light of the entire record. As

required by Title 28 U.S.C. § 636(b)(1)(c), the Court has conducted an independent review of the entire

record in this cause and has conducted a de novo review with respect to those matters raised by the

objections. After due consideration, the Court concludes the objections lack merit.

       IT IS THEREFORE ORDERED that the Report and Recommendation of United States

Magistrate Judge (docket no. 37) is ACCEPTED pursuant to 28 U.S.C. § 636(b)(1) such that plaintiffs’

Motion to Remand (docket no. 18) is DENIED; defendant Progressive County Mutual Insurance

Company’s Opposed Motion to Strike, or Alternatively, Unopposed Motion for Leave to File a Surreply

in Opposition to Plaintiff’s Motion to Remand to State Court (docket no. 27) is GRANTED; and

Section IV of plaintiff’s reply (docket no. 26) is STRICKEN from the record. This case remains

referred to the Magistrate Judge for further proceedings.

       It is so ORDERED.

       SIGNED this 11th day of December, 2019.


                                        _________________________________________________
                                      FRED BIERY
                                      UNITED STATES DISTRICT JUDGE




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